          Case 2:19-cv-02534-HLT-JPO Document 55 Filed 07/27/20 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

    NATHAN C. JONES, individually and on
    behalf of all others similarly situated,

              Plaintiff,
                                                       Case No. 19-2534-HLT
              v.

    USHEALTH GROUP, INC., et al.,

              Defendants.


                                         ORDER

          On March 12, 2020, the court granted defendants’ unopposed motion to stay (ECF

No. 53), pending a potentially dispositive ruling from the United States Supreme Court in

Barr v. American Association of Political Consultants, No. 19-631. The parties filed a

joint status report on July 20, 2020 (ECF No. 54), asking to continue the stay until spring

2021. The Supreme Court issued its decision in Barr, then granted a petition for certiorari

on July 9, 2020, in Facebook, Inc. v. Duguid, No. 19-511, to resolve a circuit split on the

meaning of “automatic telephone dialing system.” 1 The parties agree this holding “will

streamline discovery in this case and provide the parties and the court much needed

guidance on a dispositive issue.”2 The court agrees it is in the interest of judicial economy

to continue the stay until the Supreme Court issues its decision in Duguid, which is




1
    ECF No. 54.
2
    Id.
      Case 2:19-cv-02534-HLT-JPO Document 55 Filed 07/27/20 Page 2 of 2




expected in spring 2021. The parties shall submit a joint proposed amended scheduling

order within 14 days of that decision.

       IT IS SO ORDERED.

       Dated July 27, 2020, at Kansas City, Kansas.

                                         s/ James P. O’Hara
                                         James P. O’Hara
                                         U.S. Magistrate Judge




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